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FH.E[) r.~~.-
IN THE UNITED STATES DISTRICT COURT J' ' -- D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE{]§ JUN l 5

 

WESTERN DIVIsIoN H 2: 55
HOF",FD]|` ',~' »~ \ `
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ROBERT C. GILL, WALTER NoRRis ~ -" fr't i.,¢~i:sw:a§
and CHRISTOPHER LEE,
Plaintiffs,

v. Case No. 05-2265 D P
W.W. HERENTON, in his official capacity as
Mayor of the City of Memphis; CITY OF
MEMPHIS, a municipal corporation; LARRY A.
GODWIN, individually and in his official capacity
as Director ofPolice Services

for the City of Mernphis,

Defendants.

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SCHEDULING ORDER

 

Pursuanl to the Scheduling conference set by Writtcn notice, the following dates Were
established as the final dates for:

lNlTlAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(l): JUNE 30 2005

 

.lOlNING PARTIES: AUGUST 15 2005

 

Al_\/]ENDlNG PLEADlNGS: AUGUST 15 2005

 

lNlTIAL MOTIONS TO DISMISS: SEPTEMBER 15 2005

 

COMPLETING ALL DISCOVERY:]

(a) DOCUMENT PRODUCTION: FEBRUARY 15 2006

 

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
FEBRUARY 15 2006

 

 

‘ ALL DISCOVERY MUST BE ISSUED ]N TIME TO BE COMPLETED BY THE DISCOVERY BAR DATE.

This document entered on the docket sheet in compliance
Wiih ama ss and/or 79(3) FacP on -~'l ’ m

 

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(c) EXPERT DIsCLosURE (Ruie 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT lNFORMATION:
NOVEMBER 30 2005

 

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: ]ANUARY 2 2006

 

(3) EXPERT WITNESS DEPOSITIONS: FEBRUARY 15 2006

 

FILING DISPOSITIVE MOTIONS: MARCH 15 2006. Any response to a dispositive motion,
including a motion for summary judgment, shall be filed Within 30 days of the filing of
the dispositive motion or by APRIL 14 2006, whichever is earlier.

 

 

OTHER RELEVANT MATTERS:

No deposition may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or obj ection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer or objection shall be Waived.

This cause is set for jury trial. The pretrial order date, pretrial conference date, and trial

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date will be set by the presiding judge
This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ] l(a)(l)(A), all motions, except

motions pursuant to Fed. R. Civ, P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. lf a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum Setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge

This order has been entered after consultation with trail counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

lT IS SO OR_DERED.

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TU M. PHAM
UNITED STATES MAG]STRATE JUDGE

DATE; "j`o\~{ t§_jyo\f

 

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DISTRIT OURT WESTER D'r'iSRCToF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CV-02265 was distributed by fax, mail, or direct printing on
.lune 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

